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              IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION


UNITED STATES OF AMERICA                    *
                                            *


              V.                            *              OR 113-220
                                            ★


HUBER ROMERO                                *



                                        ORDER




       Before      the   Court   are    Defendant's   petitions to      reduce    his

sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i).                      (Docs. 517,

518, 520.)         On June 19, 2014, Defendant pleaded guilty to the

offense of conspiracy to distribute and possess with intent to

distribute fifty grams or more of methamphetamine (actual).                   (Doc.

306.)     Defendant received a 270-month prison sentence.                 (J., Doc.

351, at 2.)        On September 9, 2015, the Court reduced Defendant's

sentence, pursuant to 18 U.S.C. § 3582(c)(2), from 270 months to

216 months.        (Doc. 466.)

        In 2018, Bureau of Prisons (^^BOP") Health Services diagnosed

Defendant with pelvic spindle sarcoma.              (See Doc. 515-1.)      In March

2019, Defendant moved for a reduction in sentence.                      (Doc. 515.)

The   Court   denied      Defendant's     motion   for   failure   to   exhaust   the

requisite administrative remedies under 18 U.S.C. § 3582(c)(1)(A).

(Order, Doc. 516.)          Defendant then filed the present motions.

        Although the       record      contains differing    opinions     regarding

Defendant's life expectancy, there is no question that Defendant's
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cancer is terminal.         In November 2018, Defendant received a life

expectancy of ^^less than [twelve] months."                (Doc. 517-2.)         In July

of this year, Defendant was given a life expectancy of six to nine

months.     (Doc.   517-1,         at   2.)      Defendant    is       confined    to   a

wheelchair.      (See       id.)        Defendant    exhausted         administrative

remedies under 18 U.S.C. § 3582(c)(1)(A) (Doc. 517-5) and supplied

a release plan pursuant to 28 C.F.R. § 571.61 (Pet. for Release,

Doc. 517, at 6); therefore, the Court may consider the present

motions.


     To    complicate   matters.         Defendant    is   not     a    United    States

citizen and is in the United States illegally.                   (Order, at 1.)         As

of March 2019, United States Immigration and Customs Enforcement

(^^ICE") showed no active detainer as to Defendant.                     (Doc. 517-8.)

Defendant's proposed plan for release contemplates residing in

Augusta, Georgia, with friends and family and sets forth a plan to

pay for his medical care in Augusta.                 (Pet. for Release, at 6.)

The Government opposes         Defendant's release plan to the extent

Defendant is released from BOP custody other than directly into

ICE custody.    (Opp'n to Pet. for Release, Doc. 521, at 7-9.)

     Defendant      satisfies           the    extraordinary       and     compelling

justification    for    a    sentence         reduction.     The       United     States

Sentencing Guidelines advise that "extraordinary and compelling

reasons" include occasions when "[t]he defendant is suffering from

a terminal illness (i.e., a serious and advanced illness with an
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end of life trajectory)."        U.S. Sentencing Guidelines Manual § lBl.13,

cmt. n.l {U.S. Sentencing comm'n 2019).          Upon due consideration, IT

IS HEREBY ORDERED that Defendant's petition to reduce sentence

(Doc. 517) is GRANTED and his sentence be reduced to TIME SERVED.^

All Other conditions imposed regarding Defendant's sentence are

unaltered by this Order.2        (See J.)        In reaching its conclusion,

the   Court   has   considered   the    factors    set   forth   in    18   U.S.C.


§§ 3553(a)    and   3142(g).      See   United     States   v.   McDonald,     No.

CRIMINAL ACTION 10-00273-KD-B, 2016 WL 4923511, at *1 (S.D. Ala.

Sept. 14, 2016).

       ORDER ENTERED at Augusta, Georgia, this                        of October,

2019.




                                            J.
                                            UNITED STATES    DISTRICT COURT
                                            SOUTHE   j] DISTRICT OF GEORGIA




^ Because Defendant's other pending motions (Docs. 518, 520) request the same
relief granted herein, those motions are DENIED AS MOOT.
2 Additionally, nothing in this Order requires ICE to take any action or refrain
from taking any action.
                                        3
